          Case 1:09-cv-00019 Document 44 Filed 04/13/11 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7                       IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF THE NORTHERN MARIANA ISLANDS
 8
 9    RANDALL T. FENNELL,                                       Civil Case No. 09-00019

10                          Plaintiff,

11                  v.                                       ORDER UPON REMAND RE:
                                                          DEFENDANTS’ MOTION TO DISMISS
12    MATTHEW T. GREGORY, et al.,

13                          Defendants.

14
15          In keeping with the memorandum opinion of the Ninth Circuit in this case (see Docket No.

16   42; see also Docket No. 43):

17          •      Plaintiff’s claim for relief under Section 1983 of Title 42, United States Code for

18                 violation of his substantive due process rights is hereby DISMISSED WITH

19                 PREJUDICE, because the Attorneys General are entitled to qualified immunity with

20                 respect to Plaintiff’s Fourteenth Amendment due process claims;

21          •      Plaintiff’s claim for relief under Section 1983 of Title 42, United States Code for

22                 violation of his First Amendment rights is hereby DISMISSED WITHOUT

23                 PREJUDICE, for failure to state a claim under the pleading standards of Ashcroft

24                 v. Iqbal, 556 U.S. ___, 129 S. Ct. 1937 (2009); and

25          •      Plaintiff’s claim for relief under Section 1983 of Title 42, United States Code for

26                 violation of his equal protection rights is hereby DISMISSED WITHOUT

27                 PREJUDICE, for failure to state a claim by failing to allege differential treatment

28                 from similarly situated individuals.
          Case 1:09-cv-00019 Document 44 Filed 04/13/11 Page 2 of 2



 1           The court’s order of September 28, 2009 (see Docket No. 34) stands in all other respects.
 2   As such, all causes of action are dismissed.
 3           Plaintiff shall file a “First Amended Complaint” by April 28, 2011, if at all. Should Plaintiff
 4   not file an amended complaint, the court will dismiss all claims with prejudice.
 5           SO ORDERED this 13th day of April, 2011.
 6
 7
 8                                                              /s/ Frances M. Tydingco-Gatewood
                                                                FRANCES M. TYDINGCO-GATEWOOD1
 9                                                              District Judge
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
             1
27             The Honorable Frances M . Tydingco-Gatewood, Chief Judge, District Court of Guam, by designation. See
     48 U.S.C. § 1821(b)(2).
28
                                                      Page 2 of 2
